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           Responses from County Supervisors of Elections (DEC v. Detzner)
              Ballots Rejected for Mismatched Signatures (last updated 11-16-2018; 2:45 PM)

                                                                               Ballots Segregated and
Count   County                Vote-by-Mail Ballots     Provisional Ballots            Accessible        Response by
  1     Alachua                       53                        6                        Yes            By email
  1     Baker                          0                        0                        N/A            By email
  1     Bay                            8                        0                        Yes            By phone
  1     Bradford                       3                        0                        Yes            By email
  1     Brevard                       121                       8                        Yes            By email
  1     Broward                       165                      23                        Yes            By email
  1     Calhoun                        1                        0                        Yes            By email
  1     Charlotte                     16                        0                        Yes            By email
  1     Citrus                        23                        0                        Yes            By email
  1     Clay                          87                        2                        Yes            By email
  1     Collier                       77                        0                        Yes            By email
  1     Columbia                       6                        0                        Yes            By email
  1     DeSoto                         0                        0                        N/A            By email
  1     Dixie                          6                        0                        Yes            By email
  1     Duval                         171                       0                        Yes            By email
  1     Escambia                      35                        0                        Yes            By email
  1     Flagler                       52                        0                        Yes            By email
  1     Franklin                       1                        0                        Yes            By email
  1     Gadsden                        2                        0                        Yes            By email
  1     Gilchrist                      3                        0                        Yes            By email
  1     Glades                         1                        0                        Yes            By email
  1     Gulf                           6                        0                        Yes            By email
  1     Hamilton                      11                        0                        Yes            By email
  1     Hardee                         1                        0                        Yes            By email
  1     Hendry                         5                        1                        Yes            By email
  1     Hernando                       3                        0                        Yes            By email
  1     Highlands                     29                        0                        Yes            By email
  1     Hillsborough                  343                       0                        Yes            By email
  1     Holmes                         2                        0                        Yes            By email
  1     Indian River                  19                       11                        Yes            By email
  1     Jackson                        3                        0                        Yes            By email
  1     Jefferson                      0                        1                        Yes            By email
  1     Lafayette                      2                        0                        Yes            By email
  1     Lake                          290                       0                        Yes            By email
  1     Lee                           369                       2                        Yes            By email
  1     Leon                          33                        0                        Yes            By email
  1     Levy                          13                        0                        Yes            By email
  1     Liberty                        0                        0                        N/A            By email
  1     Madison                       19                        0                        Yes            By email
  1     Manatee                       95                        0                        Yes            By email
  1     Marion                        16                        0                        Yes            By email
  1     Martin                        34                        0                        Yes            By email
  1     Miami-Dade                    744                       0                        Yes            By email
  1     Monroe                        30                        0                        Yes            By email
  1     Nassau                         4                        0                        Yes            By email
  1     Okaloosa                       0                        0                        N/A            By email
  1     Okeechobee                    25                        0                        Yes            By email
  1     Orange                        466                       1                        Yes            By email
  1     Osceola                       130                       0                        Yes            By email
  1     Palm Beach                    933                       2                        Yes            By email
  1     Pasco                         108                       0                        Yes            By email
  1     Pinellas                      63                        0                        Yes            By email
  1     Polk                          265                       3                        Yes            By email
  1     Putnam                        11                       35                        Yes            By email
  1     St. Johns                     82                        0                        Yes            By email
  1     St. Lucie                     13                        0                        Yes            By email
  1     Santa Rosa                    92                        0                        Yes            By email
  1     Sarasota                      101                       1                        Yes            By email
  1     Seminole                      160                       1                        Yes            By email
  1     Sumter                        52                        0                        Yes            By email
  1     Suwannee                       1                        0                        Yes            By email
  1     Taylor                         4                        1                        Yes            By email
  1     Union                          2                        0                        Yes            By email
  1     Volusia                       140                       1                        Yes            By email
  1     Wakulla                       23                        1                        Yes            By email
  1     Walton                        12                        0                        Yes            By email
  1     Washington                     1                        0                        Yes            By email
 67                                  5586                      100
